              Case 2:15-cv-01309-RSL Document 74 Filed 10/24/18 Page 1 of 2



 1   William G. Fig, WSBA 33943                                     Judge Robert S. Lasnik
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 5   Attorneys for Green Tree Servicing LLC
 6

 7

 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                   SEATTLE DIVISION
10

11   MICHAEL THOMAS,                                  )   Case No. 2:15-cv-01309-RSL
                                                      )
12                                  Plaintiff,        )   STIPULATED ORDER TO EXTEND
            vs.                                       )   DISCOVERY AND DISPOSITIVE
13                                                    )   MOTION DEADLINES
     GREEN TREE SERVICING LLC,                        )
14                                                    )
                                    Defendant.        )
15                                                    )
                                                      )
16

17          Pursuant to LCR 7(j), LCR 7(g), LCR 10(g), and LCR 16, Plaintiff Michael Thomas
18   (“Plaintiff”) and Defendant Green Tree Servicing LLC (“Green Tree”), by and through their
19   counsel of record, and the court being fully advised in the premises, it is hereby
20   ORDERED that the court for an order granting relief from the court deadlines for discovery
21   and filing of dispositive motions while all remaining pre-trial dates remain the same on the
22   order issued by this court on June 29, 2018 (Dkt No. 69).
23          The parties have stipulated as follows:
24          1. To extend the deadline to complete discovery from December 2, 2018 to
25                December 31, 2018; and
26   ///

STIPULATED ORDER TO EXTEND DISCOVERY AND
DISPOSITIVE MOTION DEADLINES – Page 1                                                    SUSSMAN SHANK LLP
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 1         2. To extend the deadline for filing all dispositive motions from January 1, 2019 to

 2              January 15, 2019.

 3
           DATED this 24th day of October 2018.
 4

 5

 6
                                               
                                                     A
                                                     Robert S. Lasnik
 7                                                   United States District Judge
 8   Presented by:
 9   SUSSMAN SHANK LLP
10

11   By /s/ William G. Fig
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STIPULATED ORDER TO EXTEND DISCOVERY AND
DISPOSITIVE MOTION DEADLINES – Page 2                                                  SUSSMAN SHANK LLP
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